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13                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
14

15    JERRETT BOEHNING, Individually and                 Case No.: 3:21-CV-03671-JD
      on Behalf of All Others Similarly Situated,
16
                                 Plaintiffs,
17         v.                                          SALEH DORON GAHTAN’S
                                                       ADMINISTRATIVE MOTION
18    CONTEXTLOGIC INC., PIOTR                         REGARDING PLAINTIFF
      SZULCZEWSKI, RAJAT BAHRI, BRETT                  BOEHNING’S NOTICE OF
19    JUST, JULIE BRADLEY, ARI EMANUEL,                VOLUNTARY DISMISSAL AND TO
      JOE LONSDALE, TANZEEN SYED,                      CONSIDER WHETHER CASES
20    STEPHANIE TILENIUS, HANS TUNG,                   SHOULD BE RELATED
      JACQUELINE RESES, GOLDMAN SACHS
21    & CO. LLC, J.P. MORGAN SECURITIES
      LLC, BofA SECURITIES, INC., CITIGROUP
22    GLOBAL MARKETS INC., DEUTSCHE
      BANK SECURITIES INC., UBS
23    SECURITIES LLC, RBC CAPITAL
      MARKETS, LLC, CREDIT SUISSE
24    SECURITIES (USA) LLC, COWEN AND
      COMPANY, LLC, OPPENHEIMER & CO.
25    INC., STIFEL, NICOLAUS & COMPANY,
      INCORPORATED, WILLIAM BLAIR &
26    COMPANY, L.L.C., ACADEMY
      SECURITIES, INC., LOOP CAPITAL
27    MARKETS LLC and R. SEELAUS & CO.,
      LLC,
28                               Defendants.
      SALEH DORON GAHTAN’S ADMINISTRATIVE MOTION REGARDING PLAINTIFF BOEHNING’S NOTICE OF
      VOLUNTARY DISMISSAL AND TO CONSIDER WHETHER CASES SHOULD BE RELATED
      CASE NO. 3:21-cv-03671-JD
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 1           Pursuant to Civil Local Rules 3-12 and 7-11, proposed Lead Plaintiff Mr. Gahtan 1

 2   respectfully submits this Motion for Administrative Relief seeking an Order (1) finding plaintiff

 3   Jerrett Boehning’s (“Boehning”) Notice of Voluntarily Dismissal (ECF No. 55) to have no effect

 4   on the pending Lead Plaintiff motions and ordering that the above-captioned action (the “Boehning

 5   Action”) remain open, and (2) determining that certain later-filed securities class actions are

 6   related to the Boehning Action and should therefore be reassigned to this Court. 2

 7           This action is a securities class action lawsuit alleging violations of the Exchange Act and

 8   the Securities Act as amended by the PSLRA against ContextLogic and certain additional

 9   defendants. Pursuant to the PSLRA, on July 16, 2021, various ContextLogic investors filed
10   motions for consolidation of the Related Actions and appointment as Lead Plaintiff. 3 While Mr.
11   Gahtan’s motion is now unopposed, the briefing on these motions is ongoing with a hearing

12   previously scheduled for August 26, 2021. 4 Plaintiff Boehning, who instituted this action (ECF

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15       1
            Unless otherwise noted, all defined terms and abbreviations remain unchanged from Mr.
16   Gahtan’s initial motion and supporting papers. See ECF No. 19.
          2
            In addition to the Boehning Action, the related actions are Hoang v. ContextLogic Inc., No.
17   3:21-cv-03930-MMC (filed May 25, 2021), Asmat v. ContextLogic Inc., No. 3:21-cv-05015-
     CRB (filed June 29, 2021), and Lam v. ContextLogic Inc., No. 3:21-cv-05411-CRB (filed July
18   14, 2021) (together, the Related Actions). Pursuant to the criteria listed in Civil Local Rule 3-
     12(a), the Boehning Action is related to the later-filed actions. All four securities class actions
19   allege the same claims, against the same defendants, based on the same statements, on behalf of
     the same Class of shareholders. Given the factual and legal overlap in these actions, “there will
20   be an unduly burdensome duplication of labor and expense or conflicting results if the cases are
     conducted before different Judges.” Civil L.R. 3-12(a)(2).
21        3
            In addition to Mr. Gahtan’s motion (ECF No. 19), the following individuals filed motions:
     (1) Alexander De Block (“De Block”) (ECF No. 25); (2) Joel Newman (“Newman”) (ECF No.
22   16); (3) Anand Chetram (“Chetram”) (ECF No. 51); (4) Meng Di (“Di”) (ECF No. 44); (5) Jacob
     Weintraub (“Weintraub”) (ECF No. 36); (6) Mary X. Wu (“Wu”) (ECF No. 30); and (7) Xiaoquan
23   Yang (“Yang”) (ECF No. 40). Following the filing of the various competing motions, the
24   following movants either withdrew their motions, filed notices of non-opposition, or failed to
     respond to the competing motions: Wu, Chetram, Weintraub, De Block, Newman, and Di. See
25   ECF Nos. 54, 56–58, 60. While Yang initially opposed Mr. Gahtan’s motion based on a potential
     conflict of interest (ECF No. 61), Yang now no longer opposes Mr. Gahtan’s motion after
26   discussion with Mr. Gahtan’s counsel “confirming that there was no conflict of interest and that
     counsel’s policies and procedures would ensure that no such conflicts arose during the litigation.”
27   ECF No. 66.
          4
            As soon as the Boehning Action is reopened and the Lead Plaintiff process resumed, Mr.
28   Gahtan intends to file a fulsome response to Yang’s initial opposition to his motion,
     notwithstanding Yang’s subsequent non-opposition.
     SALEH DORON GAHTAN’S ADMINISTRATIVE MOTION REGARDING PLAINTIFF BOEHNING’S NOTICE OF
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 1   No. 1) and issued the PSLRA-mandated notice triggering the Lead Plaintiff motion deadline (ECF

 2   No. 19-4), did not file a motion for appointment as Lead Plaintiff.

 3           On July 26, 2021, ten days after the initial movants filed for Lead Plaintiff appointment,

 4   and after defendants entered into and filed a stipulation with Boehning governing defendants’

 5   outstanding obligation to answer or otherwise respond to the original complaint (ECF Nos. 10 and

 6   15), Boehning filed the Notice of Voluntarily Dismissal (ECF No. 55). Boehning’s Notice of

 7   Dismissal did not purport to impact rights of any other Class member, including Mr. Gahtan, to

 8   continue pursuing this action.

 9           Mr. Gahtan respectfully submits that, because he and certain other Class members filed for
10   consolidation of the Related Actions and Lead Plaintiff appointment before Boehning dismissed
11   his case, this action should remain active. Indeed, Boehning’s voluntary dismissal should not close
12   the entire action as to the putative Class, particularly where the three other Related Actions remain
13   open and pending.
14           Similar instances of voluntary dismissal have arisen in previous securities class actions in
15   this District and around the country, and yet the original action remained open for the benefit of
16   the class. See Declaration of Francis P. McConville, Exhibit A (Order Regarding Plaintiff
17   Dennee’s Notice of Voluntary Dismissal, Dennee v. Slack Technologies, Inc., No. 3:19-cv-05857-
18   SI (N.D. Cal. Dec. 2, 2019) (holding that plaintiff’s voluntary dismissal “shall have no effect and
19   the action will remain pending”); Exhibit B (Report and Recommendation and Order, Goldberger
20   v. Faro Technologies, Inc., No. 6:05-cv-1810-Orl-22DAB (M.D. Fla. Mar. 13, 2006), at p. 5, n.2
21   (“In view of the fact that the newly appointed Lead Plaintiff will be directed to file an Amended
22   Complaint reflecting the consolidation in the Lead Case, the current absence of an operative
23   complaint in the Lead Case is no cause for concern.”).
24           Accordingly, pursuant to Civil Local Rules 3-12 and 7-11, Mr. Gahtan respectfully requests
25   the Court enter the attached Order (1) finding Boehning’s Voluntarily Dismissal to have no effect
26   on the litigation and permitting the Lead Plaintiff appointment process to proceed in accordance
27   with PSLRA, and (2) determining that the three later-filed securities class actions are related to the
28   Boehning Action and therefore reassigned to this Court.

     SALEH DORON GAHTAN’S ADMINISTRATIVE MOTION REGARDING PLAINTIFF BOEHNING’S NOTICE                  2
     OF VOLUNTARY DISMISSAL AND TO CONSIDER WHETHER CASES SHOULD BE RELATED
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 1   DATED: August 6, 2021                    Respectfully submitted,

 2                                            /s/ Francis P. McConville

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     SALEH DORON GAHTAN’S ADMINISTRATIVE MOTION REGARDING PLAINTIFF BOEHNING’S NOTICE          3
     OF VOLUNTARY DISMISSAL AND TO CONSIDER WHETHER CASES SHOULD BE RELATED
     CASE NO. 3:21-cv-03671-JD
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 1                                  CERTIFICATE OF SERVICE

 2           I HEREBY CERTIFY that on August 6, 2021, I electronically filed the foregoing with

 3   the Clerk of Court using the CM/ECF system, which will send a Notice of Electronic Filing to all

 4   counsel of record.

 5                                                              /s/ Francis P. McConville
                                                                Francis P. McConville
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     SALEH DORON GAHTAN’S ADMINISTRATIVE MOTION REGARDING PLAINTIFF BOEHNING’S NOTICE             4
     OF VOLUNTARY DISMISSAL AND TO CONSIDER WHETHER CASES SHOULD BE RELATED
     CASE NO. 3:21-cv-03671-JD
